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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             OCALA DIVISION
 CHERYL WEIMAR,
       Plaintiff,

 v.                                            CASE NO.: 5:19-cv-548-CEM-PRL

 THE FLORIDA DEPARTMENT OF
 CORRECTIONS, KEITH TURNER,
 and RYAN DIONNE,
      Defendants.
 ________________________________/

            PLAINTIFF’S MOTION TO SEAL CONFIDENTIAL VIDEOS

       COMES NOW, Plaintiff, Cheryl Weimar, by and through the undersigned

 counsel, files this Motion to Seal Confidential Videos and states as follows:

       1.     On March 16, 2020, Plaintiff filed a Motion to take Additional

 Depositions [ECF No. 98].

       2.     Plaintiff would like to file fixed wing and hand held videos in support

 of the Motion. It shows nearly two dozen women who are eyewitnesses who are

 also visibly distraught by what they saw and heard. At this time, the videos are

 confidential pursuant to the Confidentiality Agreement between the parties and thus

 can only be filed under seal.

       3.     Specifically, Plaintiff directs the Court to the first three minutes of

 “HandHeld 1”. Further, Plaintiff directs the Court to “WC gate” where a large



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 number of inmates who were eyewitnesses can be seen watching the incident, which

 occurred out of the view of this camera.

       WHEREFORE, Plaintiff, Cheryl Weimar, requests this Court enter an order

 allowing Plaintiff to file the fixed wing and hand held videos of the incident under

 seal in support of her Motion to take Additional Depositions [ECF No. 98].

                                         Respectfully submitted,

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                                         /s/ Ryan J. Andrews
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                                         Counsel for Plaintiff

                      LOCAL RULE 3.01(g) CERTIFICATE

       Pursuant to M.D. Fla. Loc. R. 3.01(g), the undersigned has conferred with

 counsel for Defendants in writing and reports that counsel for Defendants have no

 objection to the relief sought in this Motion.

                                         /s/ Ryan J. Andrews
                                         RYAN J. ANDREWS



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                          CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing has been

 served by electronic service on this 9th day of April, 2020, to:

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                                        /s/ Ryan J. Andrews
                                        RYAN J. ANDREWS




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